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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                            )
 In re:                                     )   Chapter 11
                                            )
 Robert Terry Winfree,                      )   Case No. 3:20-01417
                                            )   Judge Randal S. Mashburn
          Debtor.                           )
                                            )
                                            )
 TN Dental Professionals, P.C., and         )
 CPF Dental, LLC, d/b/a Marquee Dental      )
 Partners,                                  )
                                            )
          Plaintiffs/ Counter-Defendants,   )
                                            )
 vs.                                        )   Adv. Proc. No. 3:20-90031
                                            )
 Robert T. Winfree, D.D.S. and Olivia       )
 Winfree,                                   )
                                            )
      Defendants/ Counter-Plaintiffs.       )
______________________________________

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
______________________________________
                                       )
In re :                                )
                                       ) Civil Action No. 3:20-mc-00055-E-BN
Subpoena Served on J.T. Palmer         )
& Associates, LLC                      )
  ___________________________________________________________________________

  TN DENTAL PROFESSIONALS, P.C., AND CPF DENTAL, LLC, D/B/A MARQUEE
  DENTAL PARTNERS’ RESPONSE AND BRIEF IN OPPOSITION TO NON-PARTY
      J.T. PALMER & ASSOCIATES, LLC’S MOTION TO QUASH SUBPOENA
  ___________________________________________________________________________




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                                        INTRODUCTION

         Pursuant to Rule 45 (d) of the Federal Rules of Civil Procedure and Local Rule 7.1(d) of

the Local Rules of the United States District Court for the Northern District of Texas, Plaintiffs in

the pending adversary proceeding, TN Dental Professionals, P.C., and CPF Dental, LLC, d/b/a

Marquee Dental Partners (collectively, “CPF Dental”), file this Response and Brief in Opposition

to Non-Party J.T. Palmer & Associates, LLC’s (“JT Palmer”) Motion to Quash Subpoena.

                                  SUMMARY OF RESPONSE

         CPF Dental engaged an investigator to search for assets owned by the Winfrees (as defined

below). JT Palmer identified six undisclosed foreign bank accounts (the “Foreign Accounts”)

allegedly owned by the Winfrees with a total balance of $1,483,209, by name of the bank, name

of the account holder, and account balance. The Winfrees deny ownership of the Foreign

Accounts. CPF Dental subpoenaed JT Palmer for documents to assist CPF Dental in determining

how JT Palmer identified that the Foreign Accounts are or were, in fact, owned by the Winfrees.

JT Palmer has failed to produce any documents in response to the Subpoena, and asserts that (i)

the time period to comply with the Subpoena was unreasonably short, and (ii) the requested

documents consist of protected trade secrets. The Court should reject both arguments, and order

JT Palmer to produce the requested documents. JT Palmer had 14 days to respond to the Subpoena.

The Subpoena was served on June 11, 2020, and CPF Dental did not file its Motion to Compel

until July 2, 2020 – 21 days after service. Further, JT Palmer has failed to demonstrate that the

requested documents constitute or would reveal trade secrets. As set forth below, the Subpoena is

proper and the JT Palmer’s Motion to Quash is due to be denied.




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                                          BACKGROUND

A.       The Debtor’s Bankruptcy and Service of the Subpoena.

         CPF Dental instituted litigation against Robert Terry Winfree, D.D.S. (“Dr. Winfree” or

“Debtor”) and Olivia Winfree (“Mrs. Winfree” and together with Dr. Winfree, the “Winfrees”) in

the Chancery Court for Davidson County, Tennessee, Case No. 181384-III, on December 21, 2018

(the “State Court Litigation”). 1 (See Appendix A to Response in Opposition to Motion to Quash,

pp. 1-80). CPF Dental brought the State Court Litigation to, among other things, enforce non-

solicitation and non-compete covenants set forth in an Asset Purchase Agreement, which the

Debtor had breached. (Id.) On March 5, 2020, the Debtor filed for bankruptcy relief under Chapter

11 of Title 11 of the United States Bankruptcy Code in the United States Bankruptcy Court for the

Middle District of Tennessee (the “Bankruptcy Court”), Case Number 3:20-ap-01417 (the

“Bankruptcy Proceeding”). (See App. B, pp. 106-114). On March 11, 2020, the Debtor filed a

Notice of Removal of State Court Action (Bankruptcy Proceeding, Dkt. No. 9) to remove the State

Court Litigation to the Bankruptcy Court, Case Number 3:20-ap-90031 (the “Adversary

Proceeding”). (See App. C, pp. 116-119).

         Prior to the Debtor’s bankruptcy filing, and in connection with the State Court Litigation,

CPF Dental hired Hodges & Associates, LLC (“Hodges”), a Tennessee based investigatory firm

that advertises itself as specializing in asset and bank account searches, to: (i) confirm that the

Winfrees were providing complete financial disclosures, and (ii) determine if the Winfrees

possessed additional bank accounts. Hodges in turn hired JT Palmer, a Texas based investigatory

firm that advertises itself as specializing in asset and bank account searches by using a “range of

techniques” to “locate all open bank accounts associated with Subject’s name and Social Security


1
 CPF Dental filed an Amended Complaint on September 16, 2019, amending its original Complaint against the
Winfrees. (See App. A, pp. 81-104).

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Number.” 2 Hodges thereafter reported to CPF Dental, through information provided to him by

JT Palmer, the existence of the Foreign Accounts, which are as follows:

                    Rothchild & Company Bank
                    Zolikerstasse, Zurich, Switzerland
                    #181 8034, Phone +41 44 384 71 11
                    Rob Winfree private investment
                    $388,000 Swiss Francs (approx. $403,520 US Dollars)

                    Investec Port Elizabeth, Waterfront Business Park
                    Port Elizabeth, South Africa
                    Phone +27 11 291 3591
                    Secured liquid account
                    $1,400,000 Rand (approx. $77,000 US Dollars)

                    Danske Bank International SA
                    13 R Edward Steichen 2540 Luxembourg
                    Phone +352 46 12 75 1
                    360 Wealth Management Account
                    R. Winfree
                    697,000 Euro (approx. $759,730 US Dollars)

                    HSBC Bank
                    1391Guber Road, Shanghai, China
                    Phone +86 21 3888 8688
                    Premier private account
                    1,510,000 Renminbi (approx. $211,000 USD)

                    Bradesco Financiamentos
                    R 3 880 St. Oeste Goiania, Brazil
                    Phone +55 62 3091 7379
                    Wealth Management
                    Olivia McMurray
                    165,000 Brazilian Real (approx. $29,700 USD)

                    Bank of Greenland
                    Phone +299 701 234
                    Savings account
                    Olivia Winfree
                    15,000 Krone (approx. $2,259 USD)

(See App. D, pp. 198-199).



2
    See https://jtpalmerassociates.com/bank-searches/.

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         The Winfrees have filed sworn statements denying that the Foreign Accounts belong to

them. (See App. E, pp. 201-205). In fact, the Debtor has made the allegation that the Debtor’s

bankruptcy estate may have an actionable defamation claim against JT Palmer for originating false

statements causing CPF Dental to file a motion for injunctive relief and alleging that the Debtor

possessed multiple Foreign Accounts to hinder CPF Dental’s collection efforts. 3 (See App. F, pp.

207-208). In order to assist CPF Dental in determining whether the Foreign Accounts are or were

owned by the Winfrees, CPF Dental served the Subpoena to Produce Documents (the

“Subpoena”) on JT Palmer (Adversary Proceeding, Dkt. No. 23). (See App. G, pp. 211-217). The

Subpoena requests, among other things, production of any and all documentation proving the

identity of the account holders in which the alleged Foreign Accounts belong. (Id. at 214-217)

The specific requests are as follows:

                 1.       Any and all Documents evidencing or relating to JT Palmer’s or Ms.
                          Shea’s search for foreign accounts owned by Debtor or Mrs.
                          Winfree;

                 2.       Any and all Documents evidencing or relating to the identity of
                          Hermitage Investment Group used in identifying any Foreign
                          Account;

                 3.       Any and all Documents evidencing that the funds in any Foreign
                          Account originated in the United States of America; and

                 4.       Any and all Documents evidencing that any Foreign Account
                          belongs to Debtor and/or Mrs. Winfree.

(Id. at 216-217). To date, JT Palmer has produced not one document to CPF Dental.




3
 The Debtor filed its Response in Support of Motion to Compel (Adversary Proceeding, Dkt. No. 33) hours after CPF
Dental filed its Motion to Compel JT Palmer and Associates, LLC to Produce Documents in Accordance with
Subpoena (Adversary Proceeding, Dkt. No. 31).

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B.       Necessity for the Documents Requested in the Subpoena.

         The documents requested in the Subpoena are of great interest to CPF Dental (and the

Debtor 4), and are directly relevant to the Adversary Proceeding in which the Subpoena was issued

which is where an action to except CPF Dental’s claims from the bankruptcy discharge will be

resolved, and the Debtor’s bankruptcy proceeding. It is imperative to learn the processes used by

JT Palmer in making its determination that the Winfrees are or were in fact the rightful owners of

the alleged undisclosed Foreign Accounts. If JT Palmer’s process was thorough and involved the

use of critical data points to reach the conclusion that the Winfrees possessed the Foreign

Accounts, then CPF Dental, and likely the United States Trustee in the Debtor’s bankruptcy

proceeding, will need to take further action to make sure the Foreign Accounts are disclosed to the

Bankruptcy Court, and to attempt to make sure that any funds in the Foreign Accounts are not

transferred or pilfered to the detriment of the Debtor’s creditors, including CPF Dental. If JT’s

Palmer’s process was something simple, such as merely a search of the Winfrees individual

names 5, then CPF Dental needs to know that so that it can determine the level of credibility to

place on JT Palmer’s findings.

C.       Procedural Background and Timing Issues Related to the Subpoena.

         The Subpoena was issued on June 2, 2020, and served on June 11, 2020. (Id. at 211-212).

Although the Subpoena states the date for compliance is June 16, 2020, that date is tied to the date


4
 As stated above, and as stated in the Debtor’s Response in Support of [CPF Dental’s] Motion to Compel (Adversary
Proceeding, Dkt. No. 33), the Debtor is interested in the identifying documents as well because it has repeatedly denied
ownership of the Foreign Accounts uncovered by JT Palmer, and believes that its bankruptcy estate “may have an
actionable claim against JT Palmer” because “[i]t appears that JT Palmer originated the false statements that caused
[CPF Dental] to file a motion for injunctive relief and allege that the Debtor parked over a million dollars in multiple
foreign bank accounts to hinder [CPF Dental’s] collection efforts in the event of a judgment.” (See App. F, pp. 207-
208).
5
 To date, the only identifier that has been confirmed to have been used by JT Palmer in its search of the existence of
any offshore bank account belonging to the Debtor and/or Mrs. Winfree, are variations of the Debtor’s and Mrs.
Winfree’s respective names. (See App. D, pp. 198-199).

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of issuance, not the date of service. Exhibit A to the Subpoena clearly states that production is to

be made within 14 days, making JT Palmer’s deadline to comply no later than June 25, 2020. (Id.

at 214).

         JT Palmer states as a ground for relief in its Motion to Quash Subpoena (the “Motion to

Quash”), that the Subpoena should be quashed due to the unreasonable time for which it was

required to comply. (See App. I, pp. 232-234, 236-237). However, CPF Dental does not contend

that the date for compliance was June 16th, but rather that the date for compliance was June 25th –

14 days after the date upon which JT Palmer was served. In any event, JT Palmer was given a

reasonable amount of time to either comply with the production requests in the Subpoena, or seek

relief from this Court. Instead, JT Palmer simply ignored the Subpoena until it was pressed. In

fact, JT Palmer was not contacted by counsel for CPF Dental until June 30, 2020 – 19 days after

service of the Subpoena, and furthermore, did not file its Motion to Quash until July 10, 2020 – 29

days after service of the Subpoena.

         The Motion to Quash alleges that the Motion to Compel was filed before JT Palmer’s

counsel spoke to CPF Dental’s counsel. (See App. I., p. 233). This is factually incorrect. It was

only after JT Palmer’s counsel gave assurances to CPF Dental’s counsel on July 2, 2020 that it

would not produce documents responsive to the Subpoena even if an extension to respond to the

Subpoena was granted, that CPF Dental filed the Motion to Compel JT Palmer and Associates,

LLC to Produce Documents in Accordance with Subpoena (Adversary Proceeding, Dkt. No. 31),

at 8:40 p.m. (prevailing Central time). (See App. H, pp. 219-229). The Motion to Compel was

supported by the Debtor pursuant to its filing of a Response in Support just hours after the Motion

to Compel was filed. (See App. F., pp. 207-209 (stating “[CPF Dental is] entitled to the requested




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documents and counsel for [CPF Dental] has been diligent and patient in attempting to procure

such documentation”)).

         On July 16, 2020, CPF Dental’s counsel was served with the Motion to Quash, which,

among other things, stated that CPF Dental’s Motion to Compel was filed in the wrong jurisdiction.

(See App. I, pp. 234-236). CPF Dental concedes that this Court is the court with proper jurisdiction

over the Motion to Quash, and therefore filed its Notice of Withdrawal of Motion to Compel JT

Palmer and Associates, LLC to Produce Documents in Accordance with Subpoena on July 20,

2020 (Adversary Proceeding, Dkt. No. 42) (See App. J, pp. 299-302).

         JT Palmer asserts that producing the requested documents would allegedly reveal trade

secrets and consequently, ruin JT Palmer’s business. However, JT Palmer has failed to meet its

burden in proving that JT Palmer’s “process” constitutes a trade secret, and why CPF Dental is not

entitled to the production of such documents from JT Palmer. To the extent the Court agrees with

CPF Dental, CPF Dental is agreeable to a modification of the Subpoena by the Court to allow JT

Palmer additional time to comply with the production of documents requested in the Subpoena.

See Williams v. City of Dallas, 178 F.R.D. 103, 109 (N.D. Tex. 1998) (stating modification of a

subpoena is generally preferable to quashing it outright.). At the very least, CPF Dental prays that

the Court demand JT Palmer comply with the document requests set forth in the Subpoena by

producing such documents in accordance with a protective order.

                             AUTHORITIES AND ARGUMENT

A.       Legal Standard.

         JT Palmer, as the moving party, “has the burden of proof to demonstrate that compliance

with the subpoena would be unreasonable and oppressive.” Wiwa v. Royal Dutch Petroleum Co.,

392 F.3d 812, 818 (5th Cir. 2004) (citations and internal quotation marks omitted). A nonparty



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can move to quash a subpoena as unduly burdensome. The Fifth Circuit has made clear, however,

that if a court finds a subpoena unduly burdensome, “[g]enerally, modification of a subpoena is

preferable to quashing it outright.” Id. A nonparty also may move to quash a subpoena that seeks

“a trade secret or other confidential research, development, or commercial information.” Fed. R.

Civ. P. 45(d)(3)(B)(i). However, “[n]o absolute privilege for confidential information or trade

secrets exists.” Cmedia, LLC v. LifeKey Healthcare, LLC, 216 F.R.D. 387, 390 (N.D. Tex. 2003)

(citing Exxon Chem. Patents, Inc. v. Lubrizol Corp., 131 F.R.D. 668, 671 (S.D. Tex. 1990)). The

Court must instead balance the requesting party’s need for the confidential information against the

moving party’s claim of injury from disclosure. Cmedia, 216 F.R.D. at 390 (citing Echostar

Commc’ns Corp. v. The New Corp. Ltd., 180 F.R.D. 391, 395 (D. Colo. 1998)).

         Disclosing confidential information or trade secrets to a competitor is “presumptively more

harmful than disclosure to a non-competitor.” Cmedia, LLC v. LifeKey Healthcare, LLC, 216

F.R.D. 387, 391 (N.D. Tex. 2003). The Federal Rules of Civil Procedure do not define the term

“confidential information”, but courts have defined such phrase to mean “information, which, if

disclosed would cause substantial economic harm to the competitive position of the entity from

whom the information was obtained.” Stewart v. Mitchell Transport, No. 01-cv-2546, 2002 WL

1558210, at *8 (D. Kan. July 8, 2002) (citation omitted). Courts have looked to six factors in

determining whether information should be treated as a trade secret:

                 (1) the extent to which the information is known outside the business; (2)
                 the extent to which it is known by employees and others involved in the
                 business; (3) the extent of measures taken to safeguard the secrecy of the
                 information; (4) the value of the information to him and to his competitors;
                 (5) the amount of effort or money expended in developing the information;
                 and (6) the ease or difficulty with which the information could be properly
                 acquired or duplicated by others.

Carbo Ceramics, Inc. v. Keefe, 166 Fed. Appx. 714,718 n. 1 (5th Cir. 2006).



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         Rule 45(d)(3)(B)(i) of the Federal Rules of Civil Procedure permits a court to quash or

modify a subpoena where compliance would require “disclosing a trade secret or other confidential

research, development, or commercial information,” however, a court may still order production

of such documents when the party seeking discovery shows a substantial need for the material.

See, e.g., Cmedia, 216 F.R.D. at 389-90. Although CPF Dental has established such a need for the

information requested, the Court need not address that issue because JT Palmer has failed to meet

its threshold burden. JT Palmer, as the moving party and the party resisting compliance with the

Subpoena, bears the burden to establish that the information sought by the Subpoena constitutes a

trade secret and that its disclosure would be harmful. Id. at 390-91 (citing Exxon, 131 F.R.D. at

671). JT Palmer has failed to meet this high standard.

B.       JT Palmer has Failed to Establish Specific Trade Secrets.

         JT Palmer fails to address any of the six factors identified by the Fifth Circuit for

determining whether or not particular information is a trade secret, nor does it establish why the

specific information requested by CPF Dental in the Subpoena is in fact a trade secret. Instead, it

resorts repeatedly to generic, conclusory allegations that CPF Dental seeks “the private patterns,

methods, techniques, processes, procedures and programs”, which cannot satisfy its burden. See

Lawfinders Assocs., Inc. v. Legal Research Ctr., Inc., 65 F. Supp. 2d 414, 418 (N.D. Tex. 1998),

aff’d, 193 F.3d 517 (5th Cir. 1999) (defining a trade secret); see also Autotech Techs. Ltd. P’ship

v. Automationdirect.com, Inc., 235 F.R.D. 435, 442 (N.D. Ill. 2006) (recognizing generalities

regarding confidentiality of information did not satisfy required showing to warrant protection as

trade secret or confidential material).

         CPF Dental simply seeks documents showing the underlying identifiers, if any, that JT

Palmer used in concluding that the Winfrees are or were the lawful owners of the Foreign



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Accounts. The documents sought by CPF Dental’s Subpoena are not trade secrets and do not

constitute confidential information; they are nothing more than the underlying identification

documents in which JT Palmer used in order to assist it in uncovering the possibility of offshore

bank accounts possessed by the Winfrees. JT Palmer advertises on its website that it utilizes “the

Subject’s name and Social Security Number” in order to uncover undisclosed bank accounts. This

is exactly what CPF Dental is asking JT Palmer to confirm: that JT Palmer discovered the Foreign

Accounts by associating the Subject’s names – Dr. Winfree and Mrs. Winfree – to the subject’s

respective social security numbers. Having confirmation of this is critical in helping CPF Dental

determine the degree of credibility JT Palmer’s information regarding the ownership of the Foreign

Accounts. The conclusion reached by JT Palmer has significant consequences, both for CPF

Dental and for the Debtor. The identification documents and data points used in a search for

foreign bank accounts is almost certainly something that is common knowledge inside of the

private investigations trade, and JT Palmer has certainly not demonstrated why such information

would be deemed a trade secret requiring the Subpoena to be quashed. JT Palmer has failed to

meet its burden, and the Motion to Quash should be denied.

C.       The Requests Set Forth in the Subpoena Do Not Seek Documents that Would Require
         the Disclosure of Trade Secrets.

         Even though (1) it is JT Palmer’s burden to establish that (i) the information sought by the

Subpoena constitutes a trade secret; and (ii) that its disclosure would be harmful (see Cmedia, 216

F.R.D. at 389-90); and (2) the Court could require disclosure of the documents even if they were

in fact trade secrets (Id. at 390), none of the requests in the Subpoena actually call for the

production of any of JT Palmer’s trade secrets.

         Request 1 of the Subpoena seeks the identification documents used by JT Palmer in

concluding that the Winfrees are the owners of the Foreign Accounts. (See App. G, pp. 216-217).


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Certain of these data points (e.g., the use of the subjects’ social security numbers) are advertised

as part of JT Palmer’s process on its website, and therefore sufficient safeguards have not been

taken by JT Palmer to protect such information. Furthermore, the various additional identifiers

used by JT Palmer are almost certainly common knowledge within the private investigations trade,

and JT Palmer has failed to explain or provide evidence why such information would constitute a

trade secret, which is its burden to bear. Moreover, JT Palmer has admitted that the Winfrees’

addresses provided to it by Hodges do not match up to the addresses listed on the Foreign

Accounts. (See App. I, p. 274). If JT Palmer is willing to divulge the foregoing information, there

is no reason why JT Palmer can now argue that the other identifying data points it used to uncover

the Foreign Accounts constitutes trade secrets. Accordingly, request 1 does not call for the

disclosure of any trade secret and should not be quashed.

         In request 2 of the Subpoena, CPF Dental seeks documents which evidence and or relate

to Hermitage Investment Group, a company that was formed by Dr. Winfree, among others, in the

1990s. (See App. G, pp. 216-217; see also App. K, p. 304). According to a report prepared by

Hodges, the original purpose of creating Hermitage Investment Group was to make foreign

investments. In the event JT Palmer uncovered any documents through its investigation that

establish a relationship between Hermitage Investment Group and the Foreign Accounts, CPF

Dental is entitled to know. Such information would have been revealed in JT Palmer’s search

process, and the request is not seeking any documentation that originated with or was created by

JT Palmer. Accordingly, request 2 does not call for the disclosure of any trade secrets and should

not be quashed.

         Request 3 of the Subpoena seeks documentary evidence that the funds in any of the Foreign

Accounts originated in the United States in America. (See App. G, pp. 216-217). This request



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does not even arguably call for production of a trade secret. Instead, the request seeks documents

and information that would have been found in the searches performed by JT Palmer; it is not

calling for information that originated with or was created by JT Palmer. Accordingly, request 3

does not call for the disclosure of any trade secrets and should not be quashed.

         Request 4 of the Subpoena seeks documents evidencing that the Foreign Accounts belong

to the Winfrees. (Id. at 216-217). Any documents responsive to request 4 would similarly call for

documents found during JT Palmer’s search process. Request 4 does not seek any information

that originated with or was created by JT Palmer. Accordingly, request 4 does not call for the

disclosure of any trade secrets and should not be quashed.

D.       To the Extent the Court Determines that the Documents Requested in CPF Dental’s
         Subpoena Would Reveal a Trade Secret of JT Palmer, the Court Should Nonetheless
         Require Production, but Under a Protective Order.

         Courts regularly order the production of trade secrets or confidential commercial

information under specified conditions. See Fed. R. Civ. P. 45(d)(3)(C) and 26(c)(1)(G); Fed.

Open Market Comm. of the Fed. Reserve Sys., 443 U.S. at 362 n.24 (“More commonly, the trial

court will enter a protective order restricting disclosure to counsel, or to the parties.”); see also

Quotron Sys., Inc., v. Automatic Data Processing, Inc., 141 F.R.D. 37, 40 (S.D.N.Y. 1992)

(protective orders are commonly entered in litigation involving confidential commercial

information).

         CPF Dental is seeking the information and documentation requested in the Subpoena

strictly for the purposes of its dispute with the Winfrees. It is not trying to gain a competitive

advantage over JT Palmer. CPF Dental is not a competitor of JT Palmer and has no business

interest in learning the “methods, techniques, processes [or] procedures” used by JT Palmer in

determining that the Winfrees possess the Foreign Accounts; it simply wants documents that will



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assist it in proving whether or not the Winfrees are indeed the actual owners of the Foreign

Accounts. See Cmedia, 216 F.R.D. at 391 (disclosing confidential information or trade secrets to

a competitor is “presumptively more harmful than disclosure to a non-competitor”). Accordingly,

at the very least, this Court should order JT Palmer to produce the documents responsive to the

Subpoena and enter a protective order restricting disclosure of trade secrets to counsel and the

parties.

                                           CONCLUSION

           For the reasons addressed above, CPF Dental respectfully requests that the Court deny JT

Palmer’s Motion to Quash, and order JT Palmer to fully produce all documents responsive to CPF

Dental’s requests at set forth in the Subpoena.



Dated: July 27, 2020                    WALLER LANSDEN DORTCH & DAVIS, LLP

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                               CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing Motion was served via
electronic mail and the Court’s electronic filing system, this 27th day of July, 2020, to the
following:

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